Case 1:20-cr-10070-DPW Document4 Filed 03/16/20 Page 1of5

U.S. Department of Justice

Andrew E. Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

March 6, 2020

Ivan Mercado, Esq.
1330 Beacon Street, Suite 300
Brookline, MA 02446

Re: United States v. Gavin MacPhee
Criminal No. 20-10070-DPW

Dear Mr. Mercado:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney’’) and your

client, Gavin MacPhee (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

1. Change of Plea

Defendant will waive Indictment and plead guilty to the sole count of the Information:
Destruction, Alteration, or Falsification of Records in a Federal Investigation, in violation of 18
U.S.C. § 1519. Defendant admits that he committed the crime specified in this count and is in fact
guilty of the offense.

2 Penalties

Defendant faces the following maximum penalties: incarceration for 20 years; supervised
release for three years; a fine of $250,000; a mandatory special assessment of $100; and forfeiture
to the extent charged in the Information.

Defendant understands that, if he is not a United States citizen, pleading guilty may affect
Defendant’s immigration status. Defendant agrees to plead guilty regardless of any potential
immigration consequences, even if Defendant’s plea results in being automatically removed from
the United States.
Case 1:20-cr-10070-DPW Document4 Filed 03/16/20 Page 2 of 5

3. Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 13:

a) Defendant’s base offense level is 14 (USSG § 2J1.2(a));

b) Defendant’s offense level is increased by two, because the offense involved the
destruction, alteration, or fabrication of a substantial number of records,
documents, or tangible objects (USSG § 2J1.2(b)(3)(A)); and

c) Defendant’s offense level is decreased by three, because Defendant has
accepted responsibility for Defendant’s crime (USSG § 3E1.1).

Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (him or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crime to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History

Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4. Sentence Recommendation
The U.S. Attorney agrees to recommend the following sentence to the Court:

a) incarceration at the low end of the Guidelines sentencing range as calculated by
the parties in Paragraph 3;

b) a fine within the Guidelines sentencing range as calculated by the parties in
Paragraph 3, unless the Court finds that Defendant is not able, and is not likely
to become able, to pay a fine;

c) 12 months of supervised release; and
d) amandatory special assessment of $100, which Defendant must pay to the Clerk

of the Court by the date of sentencing.
2
Case 1:20-cr-10070-DPW Document4 Filed 03/16/20 Page 3 of 5

5. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph | of this Agreement.

6. Breach of Plea Agreement

Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

7. | Who is Bound by Plea Agreement
This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

8. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.
Case 1:20-cr-10070-DPW Document4 Filed 03/16/20 Page 4 of 5

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorneys Jordi de Llano or
Mackenzie Queenin.

Sincerely,

ANDREW E. LELLING
United States Attorney

By: oe po | € ).

STEPHENIE. FRANK

Chief, Securities & Financial Fraud Unit

JORDI DE LLANO

Deputy Chief, Securities & Financial Fraud Unit

l=

oie a |
MILE ll an
MACKENZIE QUEENIN
Assistant U.S. Attorney

 

 
Case 1:20-cr-10070-DPW Document4 Filed 03/16/20 Page 5of5

ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I previously entered into a Plea Agreement dated March 3, 2020 with the United
States to resolve this case. I understand that the March 3, 2020 Plea Agreement is no longer valid
and has been replaced by this Plea Agreement.

I understand the crime I am pleading guilty to, and the maximum penalties for that crime.
Ihave discussed the Sentencing Guidelines with my lawyer and I understand the sentencing ranges
that may apply.

I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charge against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offense. I believe this Agreement is in my best interest.

oO,
WWM
Gavin MacPhee

Defendant

Date: 3/io/z0r0

I certify that Gavin MacPhee has read this Agreement and that we have discussed what it
means. I believe Gavin MacPhee understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that Gavin MacPhee entered into a Plea Agreement dated
March 3, 2020 with the United States to resolve this case. Lamderstand that the March 3, 2020
Plea Agreement is no longer valid and has been replaced by this Plea Agreement.

SM.

Ivan Mercado, Esq.
orney for Defendant

Date: g, | ° CO7O

 

 
